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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ABINGDON DIVISION

 JAMES WOOD,                           )
                                       )
                    Plaintiff,         )
                                       )
 v.                                    )       Case No. 1:22CV00018
                                       )
 BRISTOL VIRGINIA UTILITY              )
 AUTHORITY,                            )
                                       )
                    Defendant.         )

  DEFENDANT’S RESPONSE TO COURT ORDER REGARDING MOTION
    TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION

       Defendant, BVU Authority, incorrectly sued herein as Bristol Virginia

 Utility Authority, by counsel, submits this response to this Court’s Opinion and

 Order entered August 29, 2022.

        STATEMENT OF FACTS RELEVANT TO BVUA’S IMMUNITY
       BVUA was formed in 2010 by acts of the Virginia General Assembly. See

 Declaration of Donald Bowman, attached as Exhibit A. Prior to 2010, BVUA was

 referred to as the Bristol Virginia Utilities Board (BVUB). BVUB was formed as

 in the mid 1950’s when the City of Bristol merged the day-to-day operation of its

 water, sewer, and newly purchased electric distribution system from the Tennessee

 Valley Authority (“TVA”) into a consolidated operation.




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         After July 1, 2010, BVUA was subject to the control of the General

 Assembly, which legislatively granted the BVU Authority “the rights and duties as

 hereinafter set out to provide the various utility services it currently provides all

 subject to the limitations as are herein set forth or referenced.” Va. Code § 15.2-

 7201.

         In 2016, in the face of an extensive federal and state criminal investigation

 of BVUA, which resulted in criminal convictions for two contractors, three former

 board members, and four employees, the Virginia General Assembly amended the

 BVU Authority Act to impose comprehensive controls over the operation of the

 agency. The 2016 amendments placed additional state control over BVUA

 including in the areas of governance, territorial limits, legal counsel, mandatory

 training, limits on executive compensation, procurement, scope of business

 operations, employment and management of personnel, and even ordering an audit

 by the Auditor of Public Accounts (APA). The audit resulted in 57

 recommendations for oversight of the BVUA. In 2017, the Virginia General

 Assembly again passed additional legislation – this time to assist BVUA with the

 sale of its internet, phone, and cable business.

         Additional facts with greater specificity are set forth in the Declaration of

 Donald Bowman, which is attached. To avoid redundancy, Mr. Bowman’s

 declaration is incorporated into this Statement of Facts.


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                                     ARGUMENT
 I.    STANDARD OF REVIEW
       Eleventh Amendment immunity extends to state agents and

 instrumentalities, otherwise known as “arm[s] of the state.” Cash v. Granville

 Ctny. Bd. of Educ., 242 F.3d 219, 222 (4th Cir. 2001). In determining whether an

 entity is an arm of the state and entitled to immunity, courts consider four factors:

 (1) whether a judgment against the entity would be paid from the state’s treasury;

 (2) the degree of control the State exercises over the entity or the degree of

 autonomy from the State that the entity enjoys; (3) the scope of the entity’s

 concerns – whether local or statewide – with which the entity is involved; and (4)

 the manner in which the State law treats the entity. Id. at 223-24.

       In Workman v. Mingo County Schools, the district court examined the issue

 of whether an entity (a local school board) that might not otherwise be considered

 eligible for Eleventh Amendment immunity was an arm of the state that should be

 entitled to immunity after the state intervened in the operations of the Board’s

 system, limiting the power of the Board. 667 F. Supp. 2d 679 (S.D. W. Va. 2009).

 In finding that the state effectively took control over the school system by (1)

 limiting the authority of the Board as to the expenditure of its funds, the

 employment and dismissal of personnel, the establishment and operation of the

 school calendar, instructional programs, and rules; (2) declaring the office of the

 superintendent vacant; (3) delegating to the state the authority to fill positions of
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 administrators with individuals deemed by the state to the be most qualified for the

 positions, the district court deemed the Board to be an arm of the state.

       The state intervened in the operation of the school system “to cause

 improvements to be made that will provide assurances that a thorough and efficient

 system of schools will be provided.” Id. at 686.

       Under the facts of this case, the state effectively took control of the

 operations of BVUA in the face of unprecedented conduct by members of BVUA’s

 Board, contractors, and employees that led to nine criminal convictions. The state,

 through legislation adopted by the General Assembly, (1) removed the sitting

 Board, (2) replaced the Board with members of its choice, (3) set qualifications and

 restrictions for those members, (4) eliminated the Board’s ability to make changes

 to its own composition, (5) controlled which Board members could cast votes on

 certain issues before the Board, (6) prohibited the Board from receiving

 compensation or making donations of BVUA funds, (7) eliminated the Board’s

 ability to hire and supervise Authority personnel, (8) set limits on the Board’s

 ability to contract with a President and General Counsel, (9) gave training

 directives to its General Counsel, (10) restricted the scope and types of its business

 enterprises, (11) imposed specific territorial restrictions on the Board’s operations,

 and (12) imposed purchasing and procurement rules on the Board, among other

 controls.


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        The General Assembly also intervened on behalf of BVUA with new

 legislation to assist it in closing the sale of its internet, phone, and cable division

 when its proposed sale hit an obstacle because of the procurement rules imposed

 on BVUA.

        While BVUA does not receive direct line-item appropriations of its funds

 from the Commonwealth, BVUA does have the authority to borrow from VRA

 funds, and in the event of a default on a VRA loan, the Commonwealth would be

 liable to its lenders.

        Because the state’s control over BVUA is deep and comprehensive, the

 evidence supports finding that BVUA is an arm of the state for the purposes of

 Eleventh Amendment immunity.

 II.    A JUDGMENT AGAINST DEFENDANT WOULD NOT BE PAID FROM
        THE COMMONWEALTH’S TREASURY.

        The first Cash factor for the Court’s consideration is whether a judgment

 against BVU would be paid from the Commonwealth of Virginia’s treasury. A

 judgment against BVUA would not be paid from the state’s treasury; however, the

 present case alleges a relationship with the Commonwealth that is different than

 Cash and thus requires a different analysis.

        BVUA is authorized to issue debt or receive loans, including loans from the

 Virginia Resource Authority (“VRA”). The VRA is a political subdivision of

 Virginia. See Va. Code §62.1-200. It has the power to borrow money and issue
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 bonds. See Va. Code §62.1-204. BVUA has the authority to borrow money from

 the VRA. While the VRA requires certain covenants for repayment in the

 borrower’s name, in the event of a default by the borrower, VRA is ultimately “on

 the hook” to repay the debt to third parties while it works to recover funds from the

 borrower. In the event of nonpayment of a VRA loan, the Governor of Virginia

 can order the Comptroller to withhold payment of all other funds from the

 Commonwealth to the defaulting entity until the funds are repaid. See Va. Code

 §62.1-216.1.

 III.   THE COMMONWEALTH EXERCISES A COMPREHENSIVE LEVEL
        OF CONTROL OVER BVUA.
        The second Cash factor for the court to consider is the amount of control the

 Commonwealth of Virginia exercises over BVUA or the degree of autonomy from

 the Commonwealth that BVUA has. If the state exercises an extensive degree of

 control, then the entity may still be entitled to immunity under the Eleventh

 Amendment even if the Treasury factor is not met. Cash, 242 F.3d at 224. The

 Declaration of Donald Bowman is replete with examples of state control over

 BVUA that are supported with exhibits such as the Final Report of the Auditor of

 Public Accounts, the appointment letters for the members of the Board, the Fiscal

 Impact statement showing that the Commonwealth appropriated funds for the

 payment of the BVUA audit, and the enrollment agreement between BVUA and



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 the Commonwealths’ Department of Human Resource Management for

 participation in the state’s benefits’ program for BVUA employees.

       In short, in the wake of nine criminal convictions and major financial

 concerns, the General Assembly exercised its authority and rewrote the BVUA Act

 to control all major areas of BVUA’s financial and operational management.

       For example, the General Assembly removed each incumbent board member

 and replaced them with new board members that met qualification criteria that the

 General Assembly set. The General Assembly also directly appoints two members

 of the Board. Va. Code § 15.2-7205. The General Assembly also prohibited BVUA

 board members from being paid. Va. Code §15.2-7206.9.

       The General Assembly also imposed restrictions on the Board’s ability to

 hire and supervise employees and contractors. Va. Code §§ 15.2-7206.6, -7206.7.

 Such restrictions do not exist for county or municipal governments.

       To address past abuse the General Assembly specifically mandates that the

 BVUA Board adopt a travel and expense policy that applies to Board members and

 Authority employees and addresses what expenditures are appropriate in

 furtherance of the activities of the Authority, adopt a conflict-of-interest policy

 addressing the acceptance by Board members or Authority employees of gifts of

 travel or entertainment from any vendor that seeks or maintains a contract with the




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 Authority, and file financial disclosure forms with the president, disclosing

 economic interests. Va. Codes §§15.2-7206.10 – 7206.12.

       The General Assembly also controls the issues on which Board members

 may cast votes. Va. Code §15.2-7206(E) (“Notwithstanding the quorum

 requirement in subsection A, any decision of the Board related to the provision,

 use, operation, or maintenance of water or sewer systems shall be made by a

 majority vote of the three members of the Board representing the City of Bristol,

 Virginia, and the director who is a member of the Washington County Board of

 Supervisors.”)

       The General Assembly also controls specific aspects of the Board’s ability to

 contract with the Authority’s President, including contract length, severance

 payout, and restricting the ability to enter into employment contracts with

 employees. Va. Code §15.7206(B).

       The General Assembly also crafted specific limits on the appointment of

 BVUA’s general counsel, controlling how BVUA appoints its general counsel,

 limiting general counsel’s ability to work for the City of Bristol or Washington

 County, and directing the general counsel to conduct annual training with the

 board. Va. Code 15.2-7206(C).

       The General Assembly restricted BVUA’s business reach, prohibiting it

 from seeking to become or establish a wireless service authority under the Virginia


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 Wireless Service Authorities Act (§15.2-5431.1 et seq.) or contract for services

 with such an authority. Va. Code §15.2-7207(D).

       The General Assembly imposed limits on BVUA’s procurement authority,

 including its ability to engage in procurement in other states. Va. Code §15.2-

 7212. Notably, when the Auditor of Public Accounts was making its

 recommendations with respect to BVUA’s contracts, it stated that BVUA should

 be using language in its contracts that would allow it to terminate a contract with a

 vendor without penalty in the best interest of the Commonwealth – not in the best

 interest of the Authority, but in the best interest of the Commonwealth. Decl. Ex.

 1, p.49.

       The General Assembly also intervened on BVUA’s behalf when BVUA was

 attempting to sell its internet, phone, and cable divisions. As the deal dragged on,

 a key issue became whether BVUA could continue to buy telecom services from

 Sunset in view of the procurement restrictions imposed on BVUA by the General

 Assembly under the BVU Act. To aid in closing the transaction, in 2018 a local

 delegate became aware of the issue and drafted legislation that was assigned the

 number House Bill 1450. HB1450 (codified at Virginia Code § 15.2-7207.15)

 authorized BVUA to purchase telecom services from Sunset for a period of four

 years. Through this legislation, the General Assembly intervened on behalf of

 BVUA, granting it express authority to assist BVUA in closing this transaction.


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         The state legislature treats BVUA as an arm of the state by exercising

  extensive state control through legislation. As such, the second Cash factor is

  amply met under these circumstances.

  IV.    BVUA IS CONCERNED WITH REGIONAL CONCERNS, NOT JUST
         LOCAL CONCERNS.
         The third Cash actor is whether the entity is concerned with local or

  statewide concerns. Cash, 242 F.3d at 224. While BVUA has business interests

  that could open it to the statewide marketplace, the General Assembly provided

  specific territorial restrictions on BVUA under the 2016 amendment to the BVUA

  Act. Va. Code §15.2-7207. Under the Act, BVUA is authorized to operate in

  Virginia and Tennessee, and the type of services it provides depends upon the

  jurisdictions within those states. BVUA serves multiple localities and is involved

  in operations in two states. While not state-wide in activities, BVUA provides

  regional services. It is not limited to local concerns of a locality.

  V.     THE COMMONWEALTH TREATS BVUA AS ITS OWN CREATION.
         The fourth Cash factor is how the Commonwealth characterizes BVUA.

  Cash, 242 F.3d at 226. This analysis overlaps with the above analysis of state

  control versus local autonomy. The numerous reforms and restrictions that the

  Commonwealth placed on BVUA both in the legislation creating BVUA in 2010

  and the substantial reforms of 2016, demonstrate that BVUA is not treated as a

  locality.

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        The BVUA Act specifically prohibits BVUA from waiving sovereign

  immunity. Virginia Code §15.2-7221 states, “No provision of this chapter nor act

  of an authority, including the procurement of insurance or self-insurance, shall be

  deemed a waiver of any sovereign immunity to which the Authority or its

  directors, officers, employees, or agents are otherwise entitled.” Other localities

  may, by contract or otherwise, waive their own immunity. The General Assembly,

  in an act of protectionism, prohibited BVUA from waiving its immunity or that of

  its directors, officers, employees, or agents.

        Further, BVUA employees are treated like state employees for the purpose

  of benefits to which they are entitled. BVUA employees receive state benefits.

  Employees of localities do not.

        Because the Commonwealth treats BVUA as a state agency, this Court

  should do so as well.

                                     CONCLUSION

        For the foregoing reasons, defendant BVU Authority, by counsel, requests

  that Counts 1 and 2 related to the FMLA self-care provisions be dismissed with

  prejudice for lack of subject matter jurisdiction and for such other and further relief

  that this Court deems appropriate.




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                                              Respectfully submitted,

                                              BVU AUTHORITY (incorrectly sued
                                              herein as BRISTOL VIRGINIA
                                              UTILITY AUTHORITY)

                                              /s/ Jennifer D. Royer
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                                  CERTIFICATE
         I hereby certify that on the 12th day of September 2022, I have
  electronically filed this document with the Clerk of the Court using the CM/ECF
  system, which will send notification of such filing to the following:
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